 

 

Case 2:15-cv-04497-ODW-KS Document 1 Filed 06/12/15 Page 1 of 34. Page ID #:1

BRIAN WRIGHT C.D.C. #AM9524 - C/O: PED

NAME CLERK, U.S. DISTRICT COURT
Frank Duncan, Aity., SB#25865 Tel: 2136214060 :

PRISON IDENTIFICATION/BOGKING NO.

880 W. ist St, Ste 602, Los Angeles, CA 90012
ADDRESS OR PLACE OF CONFINEMENT

 

 

 

 

 

 

CLF-SHAFTER 1150 E.Ash Av., Shafter, CA 9326:
Note: It is your responsibility to notify the Clerk of Court in writing of any
change of address. If represented by an attorney, provide his name,
address, telephone and facsimile numbers, anid e-mail address.
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

sao mae CV15 -04497-onw/Ih)

To be supplied by the Clerk of the United States District Court \__

 

 

 

 

 

 

 

FULL NAME Unclude name under which you were convicted }
Petitioner,

 

O AMENDED

WARDEN, C.D.C., CCF-SHAFTER, California Dept, of PETITION FOR WRIT OF HABEAS CORPUS
Corrections BY A PERSON IN STATE CUSTODY

NAMI OF WARDEN, SUPERINTENDENT, JAILOR OR AUTHORIZED 28 U.S.C. § 2254
PERSON HAVING CUSTODY OF PETITIONER: ~~

 

Respondent. | PLACE/COUNTY OF CONVICTION Los Angeles, CA _
PREVIOUSLY FILED, RELATED CASES IN THIS DISTRICT COURT
(List by case nusiber )

CV
CV

 

 
  
     
   

 

 

 

ipsa mo ce - PLEASE READ CAREFULLY

LV To bse th EypaGhaia persdn who either is currently serving a sentence under a judgment against you in a California
state cqurt, vento ta a sentence” foWWe-Future under a judgmient against you in a California state court. You are asking for relief
from thy Bonwicties-and/ar The sentence. This form is your petition for relief.

2. In this petition, yon may challenge the jadgment entered by only one California state court. If you want lo challenge the judgment
entered by a difference C. alifornia state court, you must file a separate petition.

3. Make sure the form is typed or neatly handwritten. You must tell the truth and sign the form. If you make a false statement of
a material fact, you may be prosecuted for perjury.

4. Answer all the questions. You do not need to cite case law, but you do need to state the federal legal theory and operative facts
in support of each ground. You may submit additional pages if necessary. If you do not fill out the form properly, you will be asked to
submit additional or correct information. If you want to submit a legal brief or arguments, you may attach a separate memoranduin,
the grounds for relief from the conviction and/or sentence that you challenge.

5. You must include in this petition all the grounds for relief from the conviction and/or sentence that you challenge. And you
must state the facts that support each ground. If you fail to set forth all the grounds in this petition, you may be barred from. presenting
additional grounds at a later date.

6. You must pay a fee of $5.00, If the fee.is paid, your petition will be filed. If you cannot afford the fee, you may ask to proceed
int forma pauperis (as.a poor persoi): To’do that, you must fill out and sign the declaration of the last two pages of the form. Also, you
must have an authorized officer at the penal institution complete the certificate as to the amount of money and securities on depasil ts
your credit in any account at the institution. If your prison account exceeds $25.00, you must pay the filing fee.

7. When you have completed the form, send the original and two copies to the following address:

Clerk of the United States District Court for the Central District of California
United States Courthouse

ATTN: Intake/Docket Section

312 North Spring Street

Los Angeles, California 90012

 

C¥-69 (05/12) PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY (28 U.S.C §- 2254) Page | of il

 

 
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PLEASE COMPLETE THE FOLLOWING: (Check appropriate number)

This petition concerns:

1. [¥la conviction and/or sentence.
2. ] prison discipline.
3. (Ja parole problem.
4, (lother.
PETITION
1. Venue

a, Place of detention CCF-Shatfter, 1150 East Ash Avenue, Shafter, CA 93263 (Kern County, CA)

b. Place of conviction and sentence Los Angeles County, CA Sentence: 31-years-to-Life

2. Conviction on which the petition is based (a separate petition must he filed for each conviction being attacked).

a. Watute of offenses involved (include all counts); 2d Degree Murder; Personal Use of a Deadly Weapon (a hamme

 

 

b, Penal or other code section or sections: P.C. Section 187; Special Allegation: P.C. Section 12022(b)(1)

 

 

Case number: BA358919
Date of conviction: 9-23-2010
e. Date ofsentence: 9-23-2010

a 4

or,

Length of sentence on each count: Count 1- 15-Years-to-Life

 

g. Plea fcheck one):
[vi Not guilty
CI Guilty
(_] Nolo contendere
bh. Kind of trial (check ene):
[Y) Jury
[_ Judge only

3. Did you appeal tothe California Court of Appeal from the judgment of conviction? ii Yes CINo
If so, give the following information for your appeal (and attack a copy of the Court of Appeal decision if available):
a. Case number: B228640 .
b. Grounds raised dis: each):
(1) Right to Trial by Jury Abrogated

(2) Denial of 5th and 14th Amendment (U.S. Constitution) due process of law and a fair trial

 

CY -G9 (05/12) PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY (28 U,S.C § 2254) Page 2 of 1)

 
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(3) Missapplication of Batson- Wheeler: (Batson)(1986) 476 U.S, 79; (Wheeler) (1978) 22 Cal.3d 258

(4)

(5)

(6)
c, Date ofdecision: 04-04-2012
d. Result Affirmed

 

 

 

 

4. [f you did appeal, did you also file a Petition for Review with the California Supreme Court of the Court of Appeal
decision? [¥]¥es [[]Ne
If so give the following information (and attach copies of the Petition for Review and the Supreme Court ruling if available) ;
a, Case number: 5202433
b. Grounds raised dist each):
(4) Right to Jury Trial Abrogated
(2) Denial of 5th and 14th Amendments (U.S. Const.) due process of law and fairness

(3) Missapplication of Batson-Wheeler: (Batson)(1986) 476 U.S. 79; (Wheeler) (1978) 22 Cal.3d 258
(4)
(5)
(6)
c. Date of decision: Petition Granted 5-21-2014; Petition Dismissed on #29-2014

 

 

 

d. Result Petition denied 7-29-2014

 

5. Ifyou did not appeal:

a. State your reasons

 

 

 

 

 

b. Did you seek permission to file a late appeal? []¥es (CINo

6. Have you previously filed any habeas petitions in any state court with respect to this judgment of conviction?
Cl¥es  [M No’
If so, give the following information for each such petition fuse additional pages if necessary, and attach copies of the petitions and the
rulings on the petitions if available}:

a. (1) Name of court:

 

(2) Case number:

 

(3) Date filed (or if mailed, ihe dale the petition was turned over to the prison authorities for mailing):

 

C¥-69 (08/12) PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY (28 U.S.C § 2254) Page 3 of 1]

 
 

 

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(4) Grounds raised (ise each):
(a)
(b)

 

 

(c)

 

(d)
{e)
(f)

(5) Date of decision:

 

 

 

 

(6) Result

 

 

(7) Was an evidentiary hearing held? [L]¥es []No

b. (1) Name of court:

 

(2) Case number:

 

(3) Date filed (or if mailed, the date the petition was turned over to the prison authorities for mailing) ¢

 

(4) Grounds raised (list each):
(a)
(b)
(c)
(d)
(e)
()
(5) Date of decision:

(6) Result

 

 

 

 

 

 

 

 

 

(7) Was an evidentiary hearing held? [l¥es FINo

c. (1) Name of court:

 

(2) Case number:

 

(3) Date filed (or if mailed, the date the petition was turned over to the prison authorities for mailing):

 

(4) Grounds raised (ist each):
(a)
(b)
(c)
(d)’
(e)
(f)

 

 

 

 

 

 

 

CV-69 (05/12) PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY (8 U.S.C § 2254) Page 4 of 11
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‘ | Case 2:15-cv-04497-ODW-KS Document Filed 06/12/15 Page 5 of 34. Page ID #:5

(5) Date of decision:

 

(6) Result

 

 

 

(7) Was an evidentiary hearing held? {1 ¥es [_]No

7. Did you file a petition for certiorari in the United States Supreme Court? [-] Yes Ww) No
If yes, answer the following:

(1) Docket or case number (if you know):

 

(2) Result:

 

 

(3) Date of result Gf you know):

 

(4) Citation to the case (if you know):

 

&. For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than five grounds. Summarize
must state facts specifically setting forth what your attorney did or failed to do.

CAUTION: — Exhaustion Requirement: In order to proceed in federal court, you must ordinarily first exhaust
your state court remedies with respect to each ground on which you are requesting relief from the
federal court. This means that, prior to seeking relief from the federal court, you first must
present all of your grounds to the California Supreme Court.

a. Ground one: Right to Jury Trial Abrogated

 

(1) Supporting FACTS: See Addendum to Petition

 

 

 

 

(2) Did you raise this claim on direct appeal to the California Court of Appeal? [vi Yes CINo
(3) Did you raise this claim in a Petition for Review to the California Supreme Court? —_(/] Yes [JNo
(4) Did you raise this claim in a habeas petition to the California Supreme Court? i_l¥es Iv] No

b. Ground two: Denial of Sth and 14th amendments (U.S. Constitution) due process of law and fairness

 

(1) Supporting FACTS: See Addendum to Petition

 

 

CV -69 (05/12) PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY (8 U.S.C § 2254) Page Sof it

 
 

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(2) Did you raise this claim on direct appeal to the California Court of Appeal?
(3) Did you raise this claim in a Petition for Review to the California Supreme Court?

(4) Did you raise this claim in a habeas petition to the California Supreme Court?

lv] Yes
[y] Yes
L_] Yes

CJNo
CINo
lvYINo

c. Ground three: Missapplication of Batson-Wheeler: (Batson (1986) 476 U.S. 79; Wheeler (1978) 22 Cal.3d 258

d.

 

(1) Supporting FACTS: See Addendum to Petition

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(2) Did you raise this claim on direct appeal to the California Court of Appeal? Iv] Yes [_JNo
(3) Did you raise this claim in a Petition for Review to the California Supreme Court? Yes CINo
(4) Did you raise this claim in a habeas petition to the California Supreme Court? []Yes [¥INo
Ground four:

(1) Supporting FACTS:

(2) Did you raise this claim on direct appeal to the California Court of Appeal? [_l¥es []No
(3) Did you raise this claim in a Petition for Review to the California Supreme Court? []Yes (_INo
(4) Did you raise this claim in a habeas petition to the California Supreme Court? [J¥es L]No
Ground five:

(1) Supporting FACTS:

(2) Did you raise this claim on direct appeal to the California Court of Appeal? []¥es TNo

 

CV-69 (05/12)

PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY (28 U.S.C § 2254)

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(3) Did you raise this claim in a Petition for Review to the California Supreme Court?

(4) Did you raise this claim in a habeas petition to the California Supreme Court?

[_INo
[INoe

9. Ifany of the grounds listed in paragraph 7 were not previously presented to the California Supreme Court, state

briefly which grounds were not presented, and give your reasons:

 

 

 

10. Have you previously filed any habeas petitions in any federal court with respect to this judgment of conviction?
LiYes  {v]No

If so, give the following information for each such petition ¢use additional pages if necessary, and attach capies of the petitions and

the rulings on the petitions if available):

a.

b.

(1) Name of court:

 

(2) Case number:

 

(3) Date filed (or if mailed, the date the petition was turned over fo the prison auihorities for mailing):

 

(4) Grounds raised (list each):

(a)

 

(b)

 

{c)

 

(d)

 

(e)

 

(f)

 

(5) Date of decision: :
(6) Result

 

 

(7) Was an evidentiary hearing held? [7 Yes []No

(1) Name of court:

 

(2) Case number;

 

(3) Date filed (or if wiaited, the date the petition was turned over te the prison authorities for mailing):

 

(4) Grounds raised (list each):

{a)

 

(b)

 

()

 

(d)

 

(e)

 

(f)

 

(5) Date of decision:

 

 

CV-69 (05/12)

PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY (28 U.S.C § 2254)

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(6) Result
(7) Was an evidentiary hearing held? ClY¥es CINe

1}. Do you have any petitions now pending (i.e, filed but not yet decided) in any state or federal court with respect to
this judgment of conviction? Cl¥Yes [¥JNo
If so, give the following information (and attach a copy of the petition if available):

(1) Name of court:

 

(2) Case number:

 

(3) Date fled (er if mailed. the date the petition was turned over to the prison authorities for mailing):

 

(4) Grounds raised {list each):

(a)

 

 

 

 

 

 

12. Are you presently represented by counsel? iviYes [INo
Ifso, provide name, address and telephone number: Frank Duncan, Attorney, SBN 25865
880 West First Street, Suite 602, Los Angeles, CA 90012 (2130-621-4060

 

 

 

WHEREFORE, petitioner prays that the Court grant petitioner relief to which he may be entitled in this proceeding,

   

   

 

vO Signature of Attorney (ifany}

1 declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct.

Executed on ( ,

Hale

   

 

 

 

CV-69 (057124 PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN STATE CUSTODY (28 U.S.C § 2254) Page sot 1)

 
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BRIAN WRIGHT C.D.C, #AM9524 Vs. Warden,

CLE-~SHAFTER

 

ADDENDUM TO FORM CV~-69 - THE PETITION FOR A WRIT oF HABEAS CORPUS
FOR A PRISONER IN STarr COURT CUSTODY (28 U.S.C. $2254)

A.
INTRODUCTION
This is an addendum to the Petition for the Writ of Habeas
Corpus in the petition Brian Wright vs. Warden, €.D.C. on Form #

CV-63

B.
ISSUES PRESENTED
The California Court of Appeal and the California Supreme
Court have ruled that the trial court did not commit error in its
handling of the /Wheeler issue during the selection of the
jury.’ Petitioner disagrees.

& federal habeas corpus can review for habeas corpus relief

 

(People V. Wheeler (1978) 22 Cal.3d 258; Batson Vv. Rentucky
(1986) 476 U.S. 79 (hereinafter, ‘“Batson/Wheeler.’)

 

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from a state court decision where the adjudication:

(1) resulted in a decision that was contrary to, or involved an unreasonable application of
clearly established Federal law, as determined by the Supreme Court of the United States;
or

(2) which resulted in a decision that was based on an

unreasonable determination of the facts in light of the evidence presented in the state court
proceedings.

An unreasonable application of clearly established federal law, as determined by the
Supreme Court “occurs when a state court ‘identifies the correct governing legal principle
from the Court/ \’s decisions, but unreasonably applies that principle to the facts of" the
case before it. In this case, both occurred.

This case presents the following issues:

(1) Did the trial court misapply People v. Wheeler ((1978) 22 Cal.3d 258) and
Batson v. Kentucky ((1986) 476 U.S. 79) by granting the prosecution’s motion claiming the
defense was selectively excluding prospective female jurors. When defense counsel was
asked his reason for excluding a particular female jurors, counsel acknowledged that one
of his reasons for the challenge was to achieve a more gender-balanced jury? ;

(2) Did the trial court err by reseating the juror and then refusing to allow the

defense to exercise a peremptory challenge after
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acknowledging that defense counsel had provided a legitimate
gender-neutral reason for challenging that particular female
juror? * (3) If the trial court erred by reseating the juror, is
that error reversible per se or subject to a harmless error
analysis?

The Petitioner also raised the question as to whether it was
reversible error to reseat the juror eliminated by a peremptory
Challenge by the defense in such a manner as the juror was keenly
aware that the defense had asked her to be removed.?

Appellant argued that the trial judge, and the justices of
the California Court of Appeal did, in fact, err. It is the
position of the Petitioner that it is that error in the trial
court’s handling of the issue which violated the appellant’ s
right to a jury trial (U.S. Const., Amend VI), and to due process
of law. (U.S. Const., Amends V and XIV.)

Perhaps one way to frame this issue is whether a defense
attorney, in order to secure a fair and balanced jury may use his
peremptories in an attempt to secure that fair jury, despite the
specific concerns of Batson-Wheeler?

Here, defense counsel was faced with a jury panel with an

 

The prosecutor originally objected under Batson/Wheeler
hat the bias demcnstrated by the defenses’ peremptory choices
bles against Caucasian jurors. However, the Court
Facie case of bias against the female gender. (See

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‘overwhelming’ number or women. He was only attempting te get
“some” men on that panel. There was no malice, or evil intent
motivating the exercise of peremptory challenges. He was not
acting te “exclude” but to “include” for the purpese of a diverse
jury panel.

There is also the issue of whether the trial court may
impose, what amounted to a “sanction” harmful to, not just the
defense counsel, but to the defendant as well. The appellant
would argue the procedures used by this trial judge denied him
the right to a fair and impartial jury trial, and to due process
of law under the 5%, 6 and 14" amendments to the federal

constitution.

Here, the Court both misapplied clearly established Supreme
Court precedent, and failed to apply and use the facts of the

case.

Cc.
STATEMENT OF PACTS
The appellant Brian Wright, was found guilty of second
Gegree murder (B.C. §187) with a special finding that he
personally used a deadly weapon, a hammer, causing the death of
the victim. (P.C. §12022(b)(1}). The appellant was alse found to

have been previously convicted of the crime of robbery in 1989.
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(Los Angeles Supericr Court Case Number: BA002103).
The appellant was sentenced to a 3l-years-to-life sentence
in state prison.

1. HE TRIAL TESTIMONY

 

The defendant resided in Los Angeles County. (RT 1214.)
After deciding to address his drug problem of long standing. (20
years). He made arrangements for a lengthy stay in a local drug
rehabilitation facility.

Petitioner, at the time, lived in a residence owned by his
mother. He formulated a plan whereby he was to sublet his
apartment to his friend, Earl Baptiste,? and to Baptiste’ s
cousin, Lindval Baptiste (RT 1514) while gone. The two men moved
in, aS Petitioner moved out.

Unfortunately after making all of the necessary arrangements
about the apartment, Petitioner was unexpectedly rejected by the
rehabilitation program because he was unable to pass the programs
physical. He was asked to leave.

So, after leaving for the program with some fanfare,
Petitioner found himself returned in less than 24 hours. (RT
1283.)

The parties reached a mutual agreement, and decided that

 

Bari Baptiste was convicted for three felonies, all for
cocaine possession. (RT 1510-1511.)

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Petitioner would move back in, and the two men would stay as
well. (RT 1281, 1514-1514.) The Petitioner decided to live in
the back bedroom at the residence. His girlfriend “Cynthia,” was
a frequent overnight guess. (RT 1285-1286, 1293.)

When appellant returned to the residence, he discovered that
Earl and Lindval were selling rock cocaine at a healthy pace.
Soon, the two cocaine dealers were supplying cocaine to the
Petitioner in lieu of paying their rent. Petitioner did net sell
any drugs. He did not participate in the drug sales, except as an
addicted user. (RT 1516-1519.)

Lindval Baptiste was found dead in the home on July 11,
2009. He was found by Earl Baptiste when he returned home between
8:30 and 9:00 a.m. Lindval’s body was found blocking the door.
Earl had to force his way inside. (1528~1530.)

At trial, Petitioner explained what had happened. He
testified that he had been using cocaine and going without sleep
for four or five days before the killing. He had been on a
cocaine binge. (RT 1222, 2122, 2125.) Both the appellant and his
girlfriend had been smoking cocaine on the day of the killing .
(1291.) Appellant testified to having an altercation with
Lindval around this time. Prior to the night of the killing,
appellant and Lindval were involved in an altercation in which

Lindval struck appellant’s knee with a hammer. (RT 1279-1280,

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2132.) According to appellant, this attack took place hours
before he killed Lindval with the hammer. (2184-2185 .)

On the night of the killing, appellant attempted to question
Lindval about whether he had molested his girlfriend, Cynthia,
while she and appellant slept. He suspected that Lindval had
molested Cynthia while he slept.

Appellant confronted Lindvall. Lindval did not deny the
accusation, but when Faced with the accusation, Lindval laughed
in Petitioner's face. At one point Lindval violently pushed
Petitioner. The push was so hard, appellant flew into the stereo
against the wall across the room. When he rose frem the floor,
appellant was angry. He testified that he “snapped.” He was
unable to recall what happened after that. He testified, “I don’t
know what happened.” (RT 2125-2127.) He found it difficult to
understand that according to the evidence, he had struck the
victim 21 times. Appellant testified further, that he had no
intent to kill, and no plan to kill. He had blacked out and was
not sure what happened. (RT 2127.)

Dorothy Martin, a crack cocaine addict, stated that she came
to the house to purchase $10.00 werth of rock cocaine and smoked
at with Petitioner in his bedroom before the killing. She heard
someone at the door to the bedroom. Petitioner went to answer it.

(RT 1841-1842.) She heard someone talking, and some “pounding”
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while he was gone. He returned with a bloody hammer, and saying
they had to leave the house. (RT 1852-1853.) He asked her to take
the hammer and she did. The hammer was bloody and it smeared her
clothing. (RT 1853-1855.) She gave it back to him as they walked
eut. (1856~-1857.) On the way out, she saw victim lying on the

kitehen floor. (BT 1866.)

2. JURY SELECTION AND WHEELER/BATSON MOTION

Once the prosecution cbjected on a claim of improper use of
the defense peremptories (against Caucasian jurors), the trial
judge declared that there was a prima facie case that defense
counsel was exercising peremptories on the basis of group bias,
but not against Caucasians, but against women. The prosecution
challenged the peremptories exercised.‘ This included Ms. Erin
Wong, a school teacher, with a prospective brother-in-law |
employed by the Los Angeles Police Department as a patrol
officer; her cousin was an attorney, and her grandfather was once

mugged. (Vol. #2 Augmented, RIT 266-268.)

 

The prosecutions motion originally included a charge of
discrimination against Asian panel member. However, the court ruled
there was no prima facie case made. This left only the accusation
of gender bias. ( Vol 2, RT augmented, 264-268.)

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Defense counsel had exercised 15 peremptories, eight against
women. The court then asked the defense attorney to explain his
eight peremptories against female members of the panel. (Vol. #2
Augmented, RT 270-272.) Defense counsel first asked that the
vxecord reflect that at the moment (of objection) there were an
overwhelming number of women on the jury panel. The court agreed,
and the prosecutor agreed. (Vol. #2 Augmented, RT 270-271.)
Counsel further stated that he wished he could get some men on
the jury. There were only four at that moment. He said he wished
for a “more balanced” jury. (vel. #2 Augmented, RT 271.)5

Without further ado, the court declared that the simple
statement, alons, was “tantamount” to an admission that
peremptories were being exercised on a group bias by the
defense .° This was not true. The record did net support this
“jump” to a conclusion. This was an unreasonable interpretation

of the facts. Nonetheless, the court immediately ordered jurer

 

8 Under existing law and upon a showing that opposing
counsel improperly exercised peremptory challenges to exclude a
member of a cognizable group, the court may dismiss all the JuULers
thus far selected. (See: Batson v. Kentucky, supra; People v.
Wheeler, supra.)
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#4748, the last peremptory used by the defense, reseated. Counsel
was not asked to explain any more concerning the exercise of hie
peremptories. (Vol. #2 Augmented, RT 271, 278.) Most damaging to
the defense was that the juror had full knowledge that the
defense had asked her te be disqualified. This, no doubt,

affected her partiality, - adverse to the defense.

D.
POINTS AND AUTHORITIES
ri.
THE TRIAL JUDGES RULING UNDER BATSON/WHEELER

WAS NOT OBJECTIVELY REASONABLE

It is submitted that the record that defense counsel
exercised peremptories from a group bias is incomplete and
unpersuasive. Whatever his subjective intent, there was,
ebviously, an objective reality which must be explored.’

It is submitted that neither the People, ner the trial

judge, established an objective prima facie case of group bias.

 

Moreover, if subjective intent were to enter into it,
defense counsel’s subjective intent was to get a fair jury, with a
fair representation of the community in which the defendant lived.

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The defense had exercised 15 peremptories, soughly, only half
against women. There were 10 women, and two men in the jury box
at the time the prosecution made its motion. (Vol #2 Augmented,
RT 269-272, 282.) Defense counsel had already accepted the panel
as constituted. (Vol. #2 Augmented, RT 266-272.) These facts did
not established a primae facie case for a Batson/Wheeler
violation. In fact, there was never @ Case made that defense
counsel exercised peremptories against Caucasian jurors, OF
against women solely because they were women. fhe record was
simply not there. Counsel's desire for “balance” was not unlawful
and was, in fact, beneficial to the process. [It did net prove
that counsel had exercised peremptories from an impermissible
group bias...

The only juror peremptory which defense counsel was required
by the court to explain, was as to juror #4748. Defense counsel
offered that he had a “gut feeling” that he could not “read” her;
he felt no “rapport.” She seemed “cold.” (Vol. #2 Augmented, RT
270-271, 277-279.) The judge accepted his explanation and stated
it was not a pretext by the defense. He had noticed it too. The
court had noticed the same aloofness. The judge said he felt it
was “impossible” to read her, as well. (Vol. #2 Augmented, RT
266-272.) So, there was actually a finding by the judge that the

exercise of this peremptory was proper.

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iT.
THE PURPOSE OF BATSON/WHEELER IS NOT TO PUNISHMENT

THE DEFENDANT BY SEATING A BIASED JUROR

It is submitted that even though there was never a proper
finding based on evidence that defense counsel exercised any
peremptory with any bias for, or against any on a group, the
defense, (or rather the defendant) was punished (sanctioned)
anyway. Assuming, arguendo, that the judge was correct in saying
that the statement by the defense attorney about wanting more men
on the jury created a prima facie case, the sanction violated the
appellant’s constitutional rights. The appellant was punished
because of what his attorney said. Punishment of the defendant
was never a stated aim of the Batson/Wheeler line of cases. It
was to provide both sides with equal opportunity and fairness.

After publicly dismissing juror #4748, the court put her
back on the panel. Clearly she knew who had excused her. Now
defense counsel had to present evidence, and make argument to a
juror who knew counsel had tried to dismiss her. The court helped
create a likely biased juror. Stranger yet, if defense counsel
did wrong, why punish the appellant whose life was on the line?
It is one thing to clear the venire and start all over again.

This may punish the attorney who has to do the work all over

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again not to mention the immediate embarrassment before the jury panel which would
conclude counsel did something wrong or unethical in dismissing one of their own.. But,
placing a most likely biased juror on the jury does not punish the defense counsel, it
punishes the defendant. It affects, and undermines his right to trial by a fair, and
impartial. jury, and to due process of law. Surely, re-seating juror #4748, did not
implement the purpose of the Batson/Wheeler line of cases. Those cases cannot be read to
permit either defense counsel, or the defendant to be punished.

Petitioner cited People v. Willis, (2002) 87 Cal. App.4th 162) in the state court of
appeals. There, the California Supreme Court held trial courts are not limited to dismissing
the entire venire as the only remedy in the case of a Batson/Wheeler violation. The courts
are now free to fashion other remedies, or sanctions short of dismissing the entire venire in
the case of a Batson-Wheeler violation. (id. at pp. 823-825.) Such was done in this case.
Instead of dismissing the entire jury panel, the court, against defense objection (wherein he
asked for a new panel, and that if he had done something wreng he would be presented to
the state bar), reseated the juror.. But his client should not be made to suffer. with the
permission of moving party (a prerequisite), simple re-seated the juror excused by the
defense. The court reseated the juror after the juror left the panel knowing that it was the

defense which wanted her dismissed. This unavoidably caused prejudice to the appellant,

 

and requires reversal. The Willis court stressed the foreseeable danger where the juror
knows who dismissed him, or her, with the disallowed peremptory.

- It is submitted that the Sixth Amendment right to trial by a proper jury

 
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xequires that a juror who knows which side dismissed him, or her,

eannot be reseated. The Willis Court was correct. This should be

 

the case given the Likilihood of prejudice to person on trial.
Before a court may reseat 4 juror excused by an improper
peremptory, caution must be taken to ensure against undue
prejudice to the party who made the unsuccessful peremptory

challenge, in this case, the defense. (Willis, supra.)

 

The Willis court cited People V. Williams ( (1994) 26

 

 

Cal.App.4th Supp. 1 (Williams) ), approvingly. The Williams court
suggested that after an objection pursuant to Batson/Wheeler was
raised, further peremptory challenges would be made at sidebar

outside the jury's presence, 50 that any successful Wheeler

 

objection could be ruled on, and any improperly challenged jurors
who are retained, are retained without knowledge as to which

party had attempted their removal. (Willis at p. 819.)

 

The Willis court, citing Williams, observed that the trial

 

 

court should conduct preliminary, peremptory challenges, and
Batson/Wheeler motions, ~ at the sidebar, - thus preventing
potential bias by the challenged juror against the party whose

attempt to excuse the juror was unsuccessful. (Willis at p. 819.)

 

The Willis court recognized the problem in reseating an
excused juror and disapproved of this as a Batson/Wheeler remedy.

The court recognized that reseating a juror with the knowledge

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that either the defense, or the prosecution wanted them dismissed
was likely to create prejudice and bias in that juror.

The California Court of Appeal and the California Supreme
court left the problem of the reseated juror to the discretion of
the trial court, meaning that there are no guidelines. The
procedure was to be handled in a completely arbitrary manner.

II.
SIGNIFICANT PREJUDICE RESULTS WHERE THE CHALLENGED
JUROR IS RESEATED WITH THE KNOWLEDGE OF THE IDENTITY

OF THE PARTY EXERCISING THE PEREMPTORY AGAINST THAT JUROR

A single juror resentful of the fact that the defense did

not want him, or her on the jury panel naturally gives rise to

likely prejudice in that juror. The substantial likelihood of the

existence of this bias, even in a single juror, is prejudice

sufficient to reversal. The criminal defendant’s right to a jury

trial affords him the xight to the unaffected decision of each of

the twelve jurors. As stated in People V. Holloway ( (1990) 50

Cal.3d 1098} even one prejudiced juror is sufficient for reversal

of conviction:

“oo. [A] verdict of guilty must be reversed or

vacated ‘whenever the court finds a substantial

Likelihood that the vote of one or more jurors was

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influenced by exposure to prejudicial matter relating

to the defendant or to the case itself that was not

part of the trial record on which the case was

submitted to the jury.” (People V. Holloway (1990) 50

Cal.3d 1098, 1109-1110.)

Here, the reseated jury eannot be expected to forget that
the defense tried to have her dismissed from the panel, and was
unsuecessful in doing so, under circumstances suggesting the
defense counsel acted improperly. Asking that a juror be
dismissed is not an act which will endear that juror to the

attorney insisting on the juror’s dismissal.

CONCLUSION

As noted herein, neither the prosecution, nor the court
established a “prima facie” Batson/Wheeler violation. Defense
counsel's subjective intent does not provide the evidence, ~- his
actions do. There was no objectively reasonable case made for a
Batson/Wheeler violation.

But assuming, arguendo, that there was 4 violation, the
remedy was improper and violative of the defendant's right to a

jury trial and to due process of law. The California Court of

 

Appeal ruled that Willis authorizes only a discretionary ruling

by the trial judge. He, or she, “may” consider the bias to the

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. Case 2:15-cv-04497-ODW-KS Document1 Filed 06/12/15 Page 25 of 34 Page ID #:25

defendant. But a judge’s discretion is not the hallmark of
protected constitutional rights such as the 6 amendment right
to a trial by jury, ox to the 5% and 14° amendments right to
due process of law.

The Court of Appeal in Willis is correct that Willis leaves
the matter to the discretion of the trial judge and to some
extent, that of the prosecution. But Willis should be the state
of the law and the procedure used in this case should be banned.
That is, where there is a sanction to be imposed on the defense,
reseating a juror, dismissed with a peremptory, under
circumstances certain to communicate to the reseated juror that
the appellant had asked for her dismissal should be banned as
depriving a defendant of his right to a fair and impartial jury
and jury trial.

Not only dees this procedure violate constitutional rights,
it does so to what end? It is seemingly only for the purpose of
judicial economy. The trial does not have to begin again. A new
jury panel does not have to be sent for. This is a poor reason
when balanced against the defendant’s constitutional right to a
jury trial.

As it stands after the Court of Appeals decision in this
case, the prosecution chooses whether to reseat the juror. It is

submitted that the entire procedure should be banned.

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Alternatively, (in the interest of judicial economy) a juror
should be reseated only where both the defense, and the
prosecution agree to it. Otherwise, a new panel must be
impaneled.

It is further submitted that the constitutional error (i.e.,
affecting the 6 amendment right to trial by jury, is of such a
constitutional dimension as to prevent a “harmless error
analysis. This should fall under a “reversible per se”
analysis.

The federal district court is asked to overturn the
conviction in this case for the afore-stated reasons. A new

trial is requested for the petitioner.

 

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FRANK ‘DUNCAN
Attorney for Petitioner

 
 

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Postscript:

THE PETITION FOR REVIEW WAS DENIED ON 5/21/2014

California Supreme Court

Court data last updated: 06/03/2015 08:12 PM

Case Summary Docket Briefs

Disposition Parties and Attorneys Lower Court
Case Summary

Supreme Court Case: §202433

Court of Appeal Case(s): Second Appellate District, Div. 3
B228640

Case Caption: PEOPLE v. WRIGHT

Case Category: Review - Criminal Appeal

Start Date: 05/11/2012

Case Status: case closed

Issues: Petition for review after the Court of Appeal affirmed a judgment of
conviction of a criminal offense. This case presents the following issues: (1) Did the trial
court misapply People v. Wheeler (1978) 22 Cal.3d 258 and Batson v. Kentucky (1986) 476
U.S. 79 by granting a prosecution motion claiming the defense was selectively excluding
prospective Caucasian jurors when defense counsel, asked his reason for excluding a
particular female Caucasian juror, acknowledged that one of his reasons for the challenge
was to achieve a more gender-balanced jury? (2) Did the trial court err by reseating the
juror and then refusing to allow the defense to exercise a peremptory challenge after
acknowledging that defense counsel had provided a legitimate gender-neutral reason for
challenging that particular female Caucasian juror? (3) If the trial court erred by reseating
the juror, is that error reversible per se or subject to a harmless error analysis?
Disposition Date: 05/21/2014

Case Citation: none

NOTE: The statement of the issues is intended simply to inform the public and the press of
the general subject matter of the case. The description set out above does not necessarily
reflect the view of the court, or define the specific issues that will be addressed by the court.
Cross Referenced Cases:
|,» Case 2:15-cv-04497-ODW-KS Document 1 Filed 06/12/15 Page 28 of 34 Page ID #:28

2nd Appellate District

Court data last updated: 06/03/2015 08:12 PM
Case Summary Docket Briefs Scheduled Actions
Disposition Parties and Attorneys Trial Court

Docket (Register of Actions)
The People v. Wright

Division 3

Case Number B228640

Date Description Notes

11/08/2010 Notice of appeal lodged/received (criminal). N/A filed 10.22.10 (Brian
Wright)

PVT CO

11/08/2010 Appellant notified re: right to counsel.

11/08/2010 Original entry stricken - sequence no. not removed. financial affidavit
inadvertently sent; aplt has retained counsel

12/21/2010 Record on appeal filed. c»t (231 pgs) r-3, p-1

01/21/2011  Motion/application to augment record filed. by appellant (3 rt dates & rt of
complete voir dire) with request to extend time to file AOB.

01/26/2011 Augmentation granted. (See order.)

01/31/2011 Augmentation order faxed to: crim appeals & crs dt of order 1-26-11
02/09/2011 Notice to reporter to prepare transcript. 2/1/11
03/01/2011 Augmented record filed. 1-2 (304 pgs) did 6-28, 29, 30-2010, 7-1-2010.

04/01/2011 Requested - extension of time

Appellant's opening brief. Requested for 05/02/2011 By 31 Day(s)
04/06/2011 Granted - extension of time.

Appellant's opening brief. Due on 05/02/2011 By 31 Day(s)
05/02/2011 Requested - extension of time

Appellant's opening brief, Requested for 06/02/2011 By 31 Day(s)
05/03/2011 Granted - extension of time.

Appellant's opening brief. Due on 06/02/2011 By 31 Day(s)
06/02/2011 Requested - extension of time

Appellant's opening brief. Requested for 07/05/2011 By 33 Day(s)
06/03/2011 Granted - extension of time.

 
* . « Case 2:15-cv-04497-ODW-KS Document 1 Filed 06/12/15 Page 29 of 34 Page ID #:29

Appellant's opening brief. Due on 07/05/2011 By 33 Day(s)

06/15/2011 Appellant's opening brief. Defendant and Appellant: Brian Wright
Attorney: Frank Duncan

07/15/2011 Requested - extension of time

Respondent's brief. Requested for 08/15/2011 By 31 Day(s)
07/18/2011 Granted - extension of time.

Respondent's brief. Due on 08/15/2011 By 31 Day(s)
08/15/2011 Requested - extension of time

Respondent's brief. Requested for 09/13/2011 By 29 Day(s)
08/17/2011 Granted - extension of time.

Respondent's brief. Due on 09/1 3/2011 By 29 Day(s)
09/13/2011 Requested - extension of time

Respondent's brief. Requested for 10/13/2011 By 30 Day(s)
09/14/2011 Granted - extension of time.

Respondent's brief. Due on 10/13/2011 By 30 Day(s)
10/13/2011 Requested - extension of time

Respondent's brief. Requested for 11/14/2011 By 32 Day(s)
10/17/2011 Granted - extension of time.

Respondent's brief. Due on 11/14/2011 By 32 Day(s) NO FURTHER EXTENSIONS WILL BE
GRANTED. ALDRICH, ACTING P.J.

11/22/2011 Respondent notified re failure to file respondent's brief.

12/21/2011 Respondent's brief. Plaintiff and Respondent: The People

Attorney: Office of the Attorney General

12/22/2011 Change of address filed for: Office of the Attorney General old phone:
213-897-2712 new phone: 213-897-2000 old fax: 213-897-6496 new fax: {blank} old email:
{blank} new email: docketinglaawt@doj.ca.gov

01/11/2012 Requested - extension of time

Appellant's reply brief. Requested for 01/31/2012 By 21 Day(s)
01/11/2012 Granted - extension of time.

Appellant's reply brief. Due on 01/3 1/2012 By 21 Day(s)

01/27/2012 Appellant's reply brief. Defendant and Appellant: Brian Wright
Attorney: Frank Duncan 0&4

01/27/2012 Case fully briefed.

01/30/2012 Calendar notice sent. Calendar date:

02/17/2012 Filed proof of service. amended to appellant's reply brief
Case 2:15-cv-04497-ODW-KS Document1 Filed 06/12/15 Page 30 of 34 .Rage ID #:30

02/27/2012 Cause argued - submission deferred. (See note field.) In open court,
submission deferred pending further order of the court.

03/09/2012 Exhibits received from county clerk. One env. (BA358919).
03/19/2012 Submission order filed. ” Submission having been deferred at oral

argument on February 27, 2012 in the above-entitled matter at the court's request, the cause is
submitted this date. The matter stands submitted as of March 19, 2012. (PK)
03/19/2012 Cause submitted.

04/04/2012 Opinion filed. (Signed Published)

The judgment is affirmed. 12 pages (Kitching, J., Croskey, J., Klein, P.J.)
05/10/2012 Service copy of petition for review received. Wright
05/14/2012 Record transmitted to Supreme Court. 1x6"
06/26/2012 Ext. by Supreme Court re: petition for hearing filed:
07/18/2012 Exhibits returned to county clerk. One env. (BA358919).

** 7/19/2012, Sup. Ct. p/u by Sharon DeSilva.

07/18/2012 Petition for review granted in Supreme Court.

05/27/2014 Record returned from Supreme Court.

07/29/2014 Supreme Court order filed re: Order issued 5-21-14, Review in the
above entitled matter is dismissed. (Cal. Rules of Court, rule 8.528(b).)

07/29/2014  Remittitur issued.

07/29/2014 Case complete.

Click here to request automatic e-mail notifications about this case.

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Judicial Council of California / Administrative Office of the Courts

 
* .", » Case 2:15-cv-04497-ODW-KS Document 1 Filed 06/12/15 Page 31 of 34. Page ID #:31

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Case 2

Expected Delivery Day: 06/08/15

 

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